Case 2:23-cv-00118-KHR   Document 124-1   Filed 12/20/24   Page 1 of 5




          EXHIBIT
            A
      Case 2:23-cv-00118-KHR        Document 124-1   Filed 12/20/24   Page 2 of 5




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and

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Attorneys for Defendants,
Walmart Inc. and Jetson Electric Bikes, LLC

                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH                             )
Individually and as Parent and Legal Guardian   )
of W.W., K.W., G.W., and L.W., minor children   )
and MATTHEW WADSWORTH,                          )
                                                )    Case No. 2:23-cv-00118-NDF
       Plaintiffs,                              )
                                                )
v.                                              )    AMENDED DECLARATION OF
                                                )    EUGENE M. LAFLAMME IN
WALMART INC. and                                )    SUPPORT OF MOTION FOR
JETSON ELECTRIC BIKES, LLC,                     )    SUMMARY JUDGMENT
                                                )
       Defendants.                              )
     Case 2:23-cv-00118-KHR             Document 124-1      Filed 12/20/24     Page 3 of 5




I, Eugene M. LaFlamme, state as follows:

       1.      I am an attorney at McCoy Leavitt Laskey LLC located in Waukesha, Wisconsin.

       2.      I am one of the attorneys of record for Defendants, Jetson Electric Bikes, LLC and

Walmart Inc., admitted pro hac vice on August 24, 2023.

       3.      Attached as Exhibit 1 is a true and correct copy of Plaintiffs’ Complaint, Doc 1,

filed July 6, 2023.

       4.      Attached as Exhibit 2 are the pertinent portions of G. W.’s deposition taken on May

20, 2024.

       5.      Attached as Exhibit 3 are the pertinent portions of Plaintiffs’ fire origin expert

report prepared by Michael J. Schulz.

       6.      Attached as Exhibit 4 are the pertinent portions of L. W.’s deposition taken on May

20, 2024.

       7.      Attached as Exhibit 5 are the pertinent portions of Plaintiff Stephanie Wadsworth’s

deposition taken on February 27, 2024.

       8.      Attached as Exhibit 6 are the pertinent portions of Plaintiff Matthew Wadsworth’s

deposition taken on February 26, 2024.

       9.      Attached as Exhibit 7 is a true and correct copy of the expert report prepared by

Rimkus Joseph Filas., IAAI-CFI, NFAI-CFEI dated September 13, 2024.

       10.     Attached as Exhibit 8 is a true and correct copy of the expert report prepared by

AEI Corporation’s Brian N. Strandjord, PE, CFI, CFEI dated September 13, 2024.

       11.     Attached as Exhibit 9 is a true and correct copy of Defendant Jetson Electric Bikes

Answer & Affirmative Defenses, Doc 18, filed August 9, 2023.




                                                2
         Case 2:23-cv-00118-KHR       Document 124-1        Filed 12/20/24      Page 4 of 5




          12.   Attached as Exhibit 10 are the pertinent portions of Plaintiffs’ fire cause expert

report prepared by Derek King.

          13.   Attached as Exhibit 11 are the pertinent portions of Plaintiffs’ fire cause expert

Derek King’s deposition taken on August 19, 2024.

          14.   Attached as Exhibit 12 is a true and correct copy of the sign-in sheet from the

October 30, 2023 Laboratory Examination at Palmer Engineering and Forensics.

          15.   Attached as Exhibit 13 is a true and correct copy of NFPA 921 (2021 ed.) section

3.3.9.

          16.   Attached as Exhibit 14 are the pertinent portions of Green River Sheriff

Department’s Detective Sergeant Jeff Sheaman’s deposition taken on November 16, 2023.

          17.   Attached as Exhibit 15 are the pertinent portions of Green River Fire Department

Assistant Fire Chief Bill Robinson’s deposition taken on November 15, 2023.

          18.   Attached as Exhibit 16 are the pertinent portions of Plaintiffs’ Initial Expert

Witness Disclosures Doc 73-3 filed on July 15, 2024.

          19.   Attached as Exhibit 17 are the pertinent portions of Plaintiffs’ Initial Expert

Witness Disclosures Doc 73-3 filed on July 15, 2024.

          20.   Attached as Exhibit 18 are the pertinent portions of Plaintiffs’ fire origin expert

Michael Schultz’s deposition taken on September 10, 2024.

          21.   Attached as Exhibit 19 are the pertinent portions of the Order Denying Plaintiffs’

Motion to Amend Expert Disclosures, Doc 93, filed November 18, 2024.

          22.   Attached as Exhibit 20 are the pertinent portions of Jetson representative Sam

Husain’s deposition taken on May 17, 2024.




                                                 3
     Case 2:23-cv-00118-KHR           Document 124-1         Filed 12/20/24         Page 5 of 5




       23.    Attached as Exhibit 21 are the pertinent portions of Walmart representative Coryn

Kremers’ deposition taken on May 31, 2024.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed: December 20, 2024
                                                     Eugene M. LaFlamme




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